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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

JOSHUA B. o/b/o TRAVIS D.B.,                         )
                                                     )
                       Plaintiff                     )
                                                     )
                       v.                            )       2:19-cv-00436-LEW
                                                     )
SOCIAL SECURITY ADMINISTRATION                       )
COMMISSIONER,                                        )
                                                     )
                       Defendant                     )

                       MEMORANDUM OF DECISION AND ORDER

       WHEREAS the parties desire to resolve the matter of entitlement to supplemental

attorney’s fees, expenses, and costs without further time and expense; and

       WHEREAS the parties have executed a Settlement Agreement in which they stipulate and

agree to the payment of one thousand, two hundred dollars and zero cents ($1,200.00) by the

United States Social Security Administration to Plaintiff, in satisfaction of any and all claims for

supplemental attorney’s fees and expenses under the Equal Access to Justice Act (EAJA), 28

U.S.C. § 2412(d);

       NOW THEREFORE, prevailing party fees and expenses are hereby awarded to Plaintiff,

subject to offset through the Treasury Department’s Offset Program to satisfy any pre-existing

debt Plaintiff may owe to the government.

       If, subsequent to the entry of this Order, the Commissioner determines that Plaintiff owes

no debt to the government that would subject this award of attorney’s fees and expenses to offset,

the Commissioner may honor Plaintiff’s signed assignment of the EAJA award to counsel.

       SO ORDERED.

       Dated this 7th day of June, 2021.
                                               /s/ Lance E. Walker
                                              UNITED STATES DISTRICT JUDGE
